Case 1:18-cr-10101-STA       Document 141       Filed 05/29/19     Page 1 of 1     PageID 229




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                EASTERN DIVISION


 UNITED STATES OF AMERICA,                  )
                                            )
                Plaintiff,                  )
                                            )
 vs.                                        )             No.: 1:18-cr-10101-STA-4
                                            )
 JUSTIN TYLER BYNUM,                        )
                                            )
                Defendant.                  )

 ______________________________________________________________________________

  ORDER GRANTING MOTION TO RESET TIME OF PLEA HEARING AND NOTICE
                                  OF SETTING
 ______________________________________________________________________________

        Upon motion of the Defendant, Justin Bynum, to reset the time of the Plea Hearing

 currently scheduled in this matter, without objection from the Government, and for good cause

 shown, it is hereby ORDERED that the time for the Plea Hearing in this matter on June 25, 2019

 be reset to 11:00 a.m.



                                            s/S. Thomas Anderson
                                            S. THOMAS ANDERSON
                                            CHIEF UNITED STATES DISTRICT JUDGE



                                            DATE: 5/29/2019
